      Case 2:05-cr-00254-MCE Document 5 Filed 06/20/05 Page 1 of 5


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 8                       United States District Court

 9                      Eastern District of California

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12   United States of America,

13              Plaintiff,             No. 05-180 GGH

14        vs.                          Detention Order

15   Talat Kabil,

16              Defendant.

17                                    -oOo-

18   A.   Order For Detention

19        After conducting a detention hearing pursuant to 18 U.S.C. §
     3142(f) of the Bail Reform Act, the Court orders the above-named
20   defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

21   B.   Statement Of Reasons For The Detention

22        The Court orders the defendant's detention because it finds:

23
            x        By a preponderance of the evidence that no
24                   condition or combination of conditions will
                     reasonably assure the appearance of the defendant
25                   as required.

26          x        By clear and convincing evidence that no condition
                     or combination of conditions will reasonably assure
      Case 2:05-cr-00254-MCE Document 5 Filed 06/20/05 Page 2 of 5


 1                   the safety of any other person and the community.

 2   C.   Findings Of Fact

 3        The Court's findings are based on the evidence which was
     presented in Court and that which was contained in the Pretrial
 4   Services Report, and includes the following:

 5          x        (1) Nature        and Circumstances of the offense
                     charged.
 6
                 x         (a) The crime. F a l s e s t a t e m e n t s a n d s h a m
 7                                        marriage to avoid immigration
                                          laws.
 8
                           (b) The offense is a crime of violence.
 9
                           (c) The offense involves a narcotic.
10
                           (d) The offense involves a large amount of
11                         controlled substances.

12                   (2) The weight of the evidence against the
                     defendant is high.
13
                     (3)   The history and characteristics of the
14                   defendant including:

15                   (a)   General Factors:

16                               The defendant appears to have a mental
                                 condition which may affect whether the
17                               defendant will appear.

18                               The defendant has no family ties in the
                                 area.
19
                                 The defendant has no steady employment.
20
                                 The defendant has no substantial
21                               financial resources.

22                               The defendant is not a long time resident
                                 of the community.
23
                                 The defendant does not have any
24                               significant community ties.

25                               Past conduct of the defendant:

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      Case 2:05-cr-00254-MCE Document 5 Filed 06/20/05 Page 3 of 5


 1                               The defendant has a history relating to
                                 drug abuse.
 2
                                 The defendant has a significant prior
 3                               criminal record.

 4                     x         The defendant has a prior record of
                                 failure to appear at court proceedings.
 5
                     (b)   Whether the defendant was on              probation,
 6                         parole, or release by a court;

 7                   At the time of the current arrest, the defendant was
     on:
 8
                                 Probation.
 9
                                 Parole.
10
                                 Release pending trial, sentence, appeal
11                               or completion of sentence.

12                   (c)   Other Factors

13                     x         The defendant is an illegal alien and is
                                 subject to deportation.
14
                                 The defendant is a legal alien and will
15                               be subject to deportation if convicted.

16                     x         Other: Defendant purchased false
                                 evidence of involvement with mosque;
17                               coerced another to continue criminal
                                 participation in his scheme; threatened
18                               witness with death at his hands or
                                 another’s; violated state court
19                               injunction against visiting witness.

20                   (4)   Rebuttable Presumptions

21         In determining that the defendant should be detained, the
           court also relied on the following rebuttable presumption(s)
22         contained in 18 U.S.C. § 3142(e), which the court finds the
           defendant has not rebutted:
23
                           (a)   (1) The crime charged is one described in
24                               § 3142(f)(1)

25                                    (A) a crime of violence; or

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     Case 2:05-cr-00254-MCE Document 5 Filed 06/20/05 Page 4 of 5


 1                                   (B) an offense for which the maximum
                                     penalty is life imprisonment or
 2                                   death; or

 3                                   (C) a controlled substance violation
                                     that has a maximum penalty of ten
 4                                   years or more; or

 5                                   (D) a felony and defendant
                                     previously was convicted of two or
 6                                   more of the offenses described in
                                     (A) through (C) above and
 7
                          (2)   Defendant previously has been convicted
 8                              of   one  of   the   crimes  listed  in
                                subparagraph (1)(A)-(C), above and
 9
                          (3)   The offense referred to in subparagraph
10                              (2) was committed while defendant was on
                                release pending trial and
11
                          (4)   Not more than five years has elapsed
12                              since the date of conviction or release
                                from   imprisonment   for  the   offense
13                              referred to in subparagraph (2).

14                        (b)   There is probable cause to believe that
                                defendant committed an offense for which
15                              a maximum term of imprisonment of ten
                                years or more is prescribed
16
                                in the Controlled Substances Act, 21
17                              U.S.C. §§ 801, et seq.,

18                              the Controlled Substances Act , 21 U.S.C.
                                §§ 951, et seq.,
19
                                the Maritime Drug Law Enforcement Act, 46
20                              U.S.C. App. §§ 1901, et seq., or

21                              an offense under 18 U.S.C. §§ 924(c),
                                956(a), or 2332b.
22
                                an offense under 18 U.S.C. §§ 1201, 1591,
23                              2241, 2242, 2244(a)(1), 2245, 2251,
                                2251A,     2252(a)(1),      2252(a)(2),
24                              2252(a)(3),   2252A(a)(1),  2252A(a)(2),
                                2252A(a)(3), 2252A(a)(4), 2260, 2421,
25                              2422, 2423 or 2425.

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      Case 2:05-cr-00254-MCE Document 5 Filed 06/20/05 Page 5 of 5


 1   D.      Additional Directives

 2           Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs
     that:
 3
          The defendant be committed to the custody of the Attorney
 4   General for confinement in a corrections facility separate, to the
     extent practicable, from persons awaiting or serving sentences or
 5   being held in custody pending appeal; and

 6        The defendant be afforded reasonable opportunity for private
     consultation with his counsel; and
 7
          That, on order of a court of the United States, or request of
 8   an attorney for the Government, the person in charge of the
     corrections facility in which the defendant is confined deliver the
 9   defendant to a United States Marshal for the purpose of an
     appearance in connection with a court proceeding.
10

11           Dated: 06/20/05

12

13                                                /s/ Peter A. Nowinski
                                                     Peter A. Nowinski
14                                                   Magistrate Judge

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